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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


JUDICIAL WATCH, INC.,                              )
                                                   )   Case No. 18-cv-00932
       Plaintiff,                                  )
                                                   )   Judge Reggie Walton
               v.                                  )
                                                   )
U.S. DEPARTMNET OF JUSTICE,                        )
                                                   )
       Defendant.                                  )

                           DEFENDANT’S ERRATA STATEMENT

       The United States Department of Justice files this errata statement to remedy a misfiling

of a stay motion in the above-captioned case. Undersigned counsel intended to file a consent

motion to stay proceedings due to the current lapse in funding for the Department. However, he

inadvertently attached a similar stay motion he filed in another case also brought by Plaintiff and

currently pending before the Court. Counsel was unaware of the error in filing until he read the

Court’s January 22, 2019 minute order later that day. He then promptly drafted and filed this

errata statement, to which the correct filing is attached.

       Undersigned counsel regrets any inconvenience to the Court or Plaintiff due to this error

and respectfully requests that the attached filing be deemed as having been properly filed January

17, 2019, in place of the documents mistakenly filed on that date.

Dated: January 24, 2019                        Respectfully submitted,

                                               JOSEPH H. HUNT
                                               Assistant Attorney General

                                               ELIZABETH J. SHAPIRO
                                               Deputy Branch Director, Federal Programs Branch

                                               /s/ Gary D. Feldon
                                               GARY D. FELDON
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